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Please docket this notice from Chief Judge McMahon in cases: Payne v. DiBlasio, 20 Civ. 8924; Wood v.
City of New York, 20 Civ. 10541; People v. City of New York, 21 Civ. 322; Sow v. City of New York, 21 Civ.
533

Counsel :

I now have four matters on my docket relating to the conduct of the NYPD in connection with various
demonstrations that occurred in New York Cit y during 2020, that are connected to the Black Lives
Matter (BLM) movement and the deaths of George Floyd and other individ uals at the hands of law
enforcement officials in othe r jurisdictions. They are

                           Payne v. DiBlasio, 20 Civ. 8924
                           Wood v. City of New York, 20 Civ. 10541
                           People v. City of New York, 21 Civ. 322
                           Sow v. City of New York, 21 Civ. 533

I preliminarily consolidated these cases for pre-trial purposes. The defendants have moved to
deconsolidate Payne and Woo d, and the plaintiffs in Payne object to consolidation of their action with
the Attorney Genera l's suit, though they do not object to coordinated discovery and joint motion
practice on the common issues of law and fact regarding policies and practices of the NYPD that
undergird all four of these lawsuits. I note that Wood, People and Sow were all filed as " related cases"
to Payne - and so they are, whe t her they end up being tried together or not - so I anticipate that most
pre-trial matters, and certainly discovery, will be consolidated.

I want to conference all four cases initially, so I can get my head around how to ma nage these cases and
start them moving. I want that conference to take place in person - "in person" meaning that no more
than two attorneys for each plaintiff and no more than four attorneys for the defendants may be
present in my courtroom, masked and socially distanced, at an on-the -record conference We cannot
possibly accommodate all the members of the public who would want to be present at this conference,
even with an overflow courtroom; we will provide a call in number for maximum public access.

At present, as you know, we are not holding in person proceed ings in the federal courthouses, so the
February 5 date that is currently on your calendars will not work . I would like to schedule this
proceeding for the week of February 16-17-18-19. As to the exact date, I would prefer to suit the
convenience of counsel, so please confer and be in touch with my deputy clerk, Mariela de Jesus,
Mdnela DeJesus@nysd uscourt s gov with suggested dates and times during that week. You should be
prepared to discuss anticipa ted motions, coordinated discovery and t he reasons why these cases should
or should not be consolidated . If each plaintiff and the defendants would file a letter of no more than
three pages summarizing your positions at last five days prior to the conference; you can flesh t hem out
fully at the conference. There really is no need to make a lot of formal procedural motions; I would
rather hear you outline your positions and rule from the bench.

Magistrate Judge Gorenstein is the assigned MJ on the-je cases. I will )   inviting him to participate at t his
conference as well.                                / ( i /.       ,M       rt-/ -
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